      Case 3:21-cv-00756-TKW-EMT Document 4 Filed 05/27/21 Page 1 of 2




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

ADAM WHITMAN,                )
                             )
     Plaintiff,              )
                             )
     v.                      ) Case No. 3:21-cv-00756-TKW-EMT
                             )
LAW OFFICES OF ADAM J. KATZ, )
P.A,                         )
                             )
     Defendant.              )

                         NOTICE OF SETTLEMENT

      Plaintiff, ADAM WHITMAN, (“Plaintiff”), through his attorney, Shireen

Hormozdi, informs this Honorable Court that Plaintiff and Defendant, LAW

OFFICES OF ADAM J. KATZ, P.A, have reached a settlement in this case. Plaintiff

anticipates dismissing Defendant, LAW OFFICES OF ADAM J. KATZ, P.A, with

prejudice, within 60 days.

                              RESPECTFULLY SUBMITTED,

May 27, 2021                  By: /s/ Shireen Hormozdi
                                      Shireen Hormozdi
                                      HORMOZDI LAW FIRM, LLC
                                      1770 Indian Trail Lilburn Road, Suite 175
                                      Norcross, GA 30093
                                      Tel: 678-395-7795
                                      Fax: 866-929-2434
                                      shireen@agrusslawfirm.com
                                      shireen@norcrosslawfirm.com
                                      Attorney for Plaintiff
      Case 3:21-cv-00756-TKW-EMT Document 4 Filed 05/27/21 Page 2 of 2




                         CERTIFICATE OF SERVICE

      I certify that on May 27, 2021, a true and correct copy of the foregoing
document was electronically filed with the Court’s CM/ECF system to be sent via
the electronic notification system to all counsel of record.


                                 By: /s/ Shireen Hormozdi
                                         Shireen Hormozdi
